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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


ALONZO BULLMAN, ET AL.,
                                                Case No. 16-12581
             Plaintiffs,
                                                SENIOR U.S. DISTRICT JUDGE
v.                                              ARTHUR J. TARNOW

CITY OF DETROIT, ET AL.,                        U.S. MAGISTRATE JUDGE
                                                ELIZABETH A. STAFFORD
             Defendants.

                                      /

      ORDER GRANTING PLAINTIFFS’ EMERGENCY MOTION FOR LEAVE FOR
     PLAINTIFFS TO SERVE A SUBPOENA AFTER THE CLOSE OF DISCOVERY [77]

       Plaintiffs Alonzo Bullman, Joel Castro, and Nicole Motyka brought this civil

rights action under 42 U.S.C. § 1983 against the City of Detroit and several Detroit

police officers. Following this Court’s ruling on Summary Judgment and a

subsequent ruling by the United States Court of Appeals for the Sixth Circuit, only

two defendants remain: Officer Matthew Bray and Officer Nico Hurd. Plaintiffs

have since learned from media reports and official statements that several officers

of the Detroit Police Department’s formerly named narcotics unit have been

disciplined for dishonesty and malfeasance. As discussed at the February 19, 2020

conference, plaintiffs will not be permitted to bootstrap their allegations to these

investigations, but they will be permitted to determine if Bray or Hurd were found
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to have been dishonest by these investigations, as the two officers’ credibility will

be at issue during the trial.

                                STANDARDS OF REVIEW

       This motion implicates both the discoverability of the requested information

and the acceptability of such discovery after the close of discovery.

       As to the scope of discovery, Rule 26 provides as follows:

       Parties may obtain discovery regarding any nonprivileged matter that is
       relevant to any party's claim or defense and proportional to the needs of
       the case, considering the importance of the issues at stake in the action,
       the amount in controversy, the parties’ relative access to relevant
       information, the parties’ resources, the importance of the discovery in
       resolving the issues, and whether the burden or expense of the proposed
       discovery outweighs its likely benefit. Information within this scope of
       discovery need not be admissible in evidence to be discoverable.

FED. R. CIV. P. 26(b)(1).

       As to timeliness, a scheduling order may be modified “only for good cause

and with the judge’s consent. FED. R. CIV. P. 16(b)(4). The Court therefore

analyzes whether the information Plaintiffs seek falls within the scope of

discovery, and, if it does, whether there is good cause for suspending the

scheduling order.

                                     ANALYSIS

       Plaintiffs want to learn if either of the two defendants in this case were

among those who were found to have submitted false affidavits to prosecutors.

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Defendants argue that the Detroit Police Department’s investigation is sensitive

and ongoing and that the conduct discussed is not sufficiently serious to warrant

impeachment or admissibility. Both of these arguments will be considered in turn.

      First, Defendants may be correct that the tentative findings of an ongoing

investigation are not the proper subject of a public trial. The admissibility of the

allegations against the officers, if there are any, can be addressed in a motion in

limine, however. Whether the investigation at all impugned either of the officers

remains to be seen. Only if it has, will the Court then analyze the admissibility of

those reports. In the meantime, Defendants’ production of discovery related to

unproven or confidential charges against the officers will be subject to a protective

order. If filed, any information arising therefrom should be filed by seal, except by

stipulation by Defendants.

      Defendants also argue that the discovery request is barred by the “self-

critical analysis privilege.” This privilege, though occasionally used by district

courts, has never been adopted by the Sixth Circuit. See Hickman v. Whirlpool, 186

F.R.D. 362 (N.D. Ohio May 12, 1999). Nor have district courts fully embraced the

judicially-created privilege—which traces its origins to Bredice v. Doctors Hosp.

Inc., 50 F.R.D. 249 (D.D.C. 1970)—and which has been called into doubt or

circumscribed on several occasions. See Allen v. Cuyahoga County, 2014 WL


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434558 * 5 (N.D. Ohio Feb. 4, 2014); U.S. ex rel. Sanders v. Allison Engine Co.,

Inc., 196 F.R.D. 310, 314 (S.D. Ohio Aug. 18, 2000) (collecting cases).

      The Supreme Court has made clear that privileges are “exceptions…not

lightly created nor expansively construed, for they are in derogation of the search

for truth.” United States v. Nixon, 418 U.S. 683, 710 (1974). The Court declines to

dramatically expand a dubious privilege designed to protect the integrity of

medical peer review, in order to seal off police internal investigations.

      Second, Defendants argue that Plaintiffs have not made a sufficient showing

of exactly how the requested information will help them. They observe that some

of the alleged misfeasance by police officers is as trivial of understating their lunch

breaks. As of now, however, neither the Court nor the parties know what

information is available, and questions as to its evidentiary utility are better

considered as evidentiary questions reserved for trial or motions in limine.

      The question of whether either defendant was among those found to have

lied in the course of their duties is relevant to the factual disputes in this case.

Because these investigations have only recently become public, there is good cause

to modify the scheduling order to allow the parties to conduct this limited inquiry.

                                    CONCLUSION

      Accordingly,


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      Plaintiffs’ Emergency Motion for Order Granting Leave for Plaintiffs to

Serve a Subpoena after the Close of Discovery [77] is GRANTED. Documents

discovered shall not be disseminated except among the attorneys and their staff.

      SO ORDERED.



                                      s/Arthur J. Tarnow
                                      Arthur J. Tarnow
Dated: February 25, 2020              Senior United States District Judge




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